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                      IN THE UNITED STATES DISTRICT COURT FOR
                      THE NORTHERN DISTRICT OF WEST VIRGINIA

                                          Wheeling Division



   DAVID and ROXIE VANCE,
   and CARLA SHULTZ, individually and on
   behalf of a class of all persons and entities
   similarly situated,                                    Case No.: 5:17-cv-00179-JPB



                  Plaintiffs,

   v.

   DIRECTV, LLC,

                  Defendant.



                    DEFENDANT DIRECTV, LLC’S MOTION FOR LEAVE
                    TO FILE NOTICE OF SUPPLEMENTAL AUTHORITY

         DIRECTV respectfully requests leave to submit Rombough v. Robert D. Smith Insurance

  Agency et al., Case No. 22-cv-15 (N.D. Iowa June 9, 2022) (ECF 23) (attached as Ex. A hereto)

  as supplemental authority in support of its opposition to plaintiffs’ motion for class certification.

  Rombough supports DIRECTV’s argument that the telemarketing prohibition in 47 C.F.R.

  § 64.1200(c) applies only to the subscriber who personally lists their number on the do not call

  registry, and further confirms that plaintiffs have failed to establish predominance.

         The plaintiff in Rombough alleged that she received telemarketing calls from defendants

  even though her cell phone number was listed on the national do-not-call list. Id. at 2. Like

  plaintiffs here, she asserted that those calls violated the Telephone Consumer Protection Act

  (“TCPA”), 47 U.S.C. § 227(c)(5) and its implementing regulation, 47 C.F.R. § 64.1200(c). Id.


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  Critically, the plaintiff did not allege that she had personally listed her cell number on the do-

  not-call list. Id.

          Defendants moved to dismiss the complaint based on the text of 47 C.F.R. § 64.1200(c),

  which proscribes telephone solicitations to “[a] residential telephone subscriber who has

  registered his or her telephone number on the national do-not-call registry.” 47 C.F.R.

  § 64.1200(c) (emphasis added). The defendants argued that plaintiff’s claim failed because she

  did not allege that she—as opposed to the prior owner of her phone number—listed the number

  on the do-not-call list. Rombough, ECF 23 at 3.

          The court agreed and dismissed plaintiff’s TCPA claim with prejudice. ECF 23. After

  interpreting its “plain language,” the court determined that Section 64.1200(c) can only be

  violated when the “residential telephone subscriber who has registered his or her telephone

  number on the national do-not-call registry” receives the calls in question. Id. at 4 (emphasis in

  original). The court therefore held that the TCPA does not provide a cause of action for a

  residential telephone subscriber like the plaintiff “who has not registered his or her telephone

  number on the national do-not-call registry.” Id. at 4-5.

          Rombough underscores one reason why common issues do not predominate in this action.

  In opposition to plaintiffs’ motion for class certification, DIRECTV advanced the very same

  argument that the Rombough court accepted: that under Section 64.1200(c), only a subscriber

  who personally lists their number on the do-not-call list can bring a TCPA claim.1 See ECF 325



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           In their reply brief, plaintiffs argued that DIRECTV’s Section 64.1200(c) argument was
  in tension with Krakauer v. Dish Network, 925 F.3d 643 (4th Cir. 2019). See ECF 328 at 6-7.
  That argument is groundless. The Krakauer court did not address the specific argument
  DIRECTV makes here (and made by the defendants in Rombough) regarding the scope of
  Section 64.1200(c); it merely suggested that if a wife listed a residential number on the do-not-
  call list, her husband might be able to bring a TCPA claim if he subsequently answered a call to
  that number. See Krakauer, 925 F.3d at 657. The court had no occasion to decide whether

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  at 14-15. Accordingly, the only way to establish whether each putative class member has a valid

  TCPA claim is to conduct a mini-trial regarding, inter alia, whether the class member personally

  listed their number on the national-do-not-call list. See ECF 325 at 14-15. This fact-intensive

  individualized inquiry would overwhelm any common issues in this case.



  Dated: July 15, 2022                                 Respectfully submitted,

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  someone who had no relationship with the listing party could assert a TCPA claim based on an
  alleged violation of Section 64.1200(c).

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                                          Wheeling Division



   DAVID and ROXY VANCE,
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   behalf of a class of all persons and entities
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                  Plaintiffs,

   v.

   DIRECTV, LLC,

                  Defendant.



                                   CERTIFICATE OF SERVICE

         I, Laura A. Hoffman, counsel for Defendant DIRECTV, LLC, hereby certify that on this

  15th day of July, 2022, a true and correct copy of the foregoing was electronically filed with the

  Clerk of the Court using the CM/ECF system, which will send notification of such filing to all

  counsel of record.

                                                       /s/ Laura A. Hoffman
                                                       Laura A. Hoffman (WVSB #12748)




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